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                         IN THE UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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13                                 SOUTHERN DIVISION

14   DEL OBISPO YOUTH BASEBALL,               Case No.: 8:21-cv-00199-JVS-DFM
     INC. d/b/a DANA POINT YOUTH
15   BASEBALL, individually and on            [PROPOSED] ORDER GRANTING
16   behalf of all other similarly situated   LEAVE TO FILE FIRST
     individuals and entities,                AMENDED COMPLAINT
17
           Plaintiffs,
18
     v.
19
     THE AMBASSADOR GROUP LLC
20   d/b/a AMBASSADOR CAPTIVE
21   SOLUTIONS; PERFORMANCE
     INSURANCE COMPANY SPC;
22   BRANDON WHITE; GOLDENSTAR
23   SPECIALTY INSURANCE, LLC; and
     DOES 1 through 50,
24
           Defendants.
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      [PROPOSED] ORDER GRANTING LEAVE TO FILE FIRST AMENDED COMPLAINT
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 Case 8:21-cv-00199-JVS-DFM Document 31-1 Filed 04/05/21 Page 2 of 2 Page ID #:277



 1                                            ORDER
 2           For good cause shown, the Court approves and GRANTS the stipulation to permit
 3   the filing of an amended complaint:
 4           THEREFORE, Defendants The Ambassador Group LLC d/b/a Ambassador
 5   Captive Solutions’ and Brandon White’s motion to dismiss set for hearing on April 26,
 6   2021 is hereby taken off calendar. Plaintiff shall file its amended complaint by April 9,
 7   2021.
 8           IT IS SO ORDERED
 9   Dated: _____________                         _________________________________
10                                                     Hon. James V. Selna
                                                       U.S. Court District Judge
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       [PROPOSED] ORDER GRANTING LEAVE TO FILE FIRST AMENDED COMPLAINT
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